                  2:19-cr-00889-BM                   Date Filed 11/05/19                  Entry Number 8            Page 1 of 1


AO 93 (Rev. I 2/09) Search and Seizure Warrant (Page 2)

                                                                          Return
Case No.:                              Date and time warrant executed:                    Copy of warrant and inventory left with:
  2:19-cr-889                                't 11--5 ll\                ';J: CQt,.,M..
Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




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                  AK,'A. 'i               ( 7K ;.,, "'- y..,_,,,, ,-_    ~J}




                                                                        Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.




                                                                                                Exf3J"ting officer's signature

                                                                            J;itA0   '?Mv1 ~ck✓    Printed name and tifte
                                                                                                                            5.4
